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                    EXHIBIT C
Case 2:18-cv-03893-RGK-AGR Document 70-5 Filed 04/17/19 Page 2 of 9 Page ID #:678
                           Edwardo L. Munoz - February 20, 2019

   1                 UNITED STATES DISTRICT COURT
   2       CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
   3
   4    EDWARDO MUNOZ,        )
        individually and on   )
   5    behalf of all others  ) Case No. 2:18-cv-03893-
        similarly situated,   )          RGK-AGR
   6                          )
                   Plaintiff, )
   7                          )
            vs.               )
   8                          )
        7-ELEVEN, INC., a     )
   9    Texas corporation,    )
                              )
 10                Defendant. )
        ______________________)
 11
 12
 13                   DEPOSITION OF EDWARDO LEE MUNOZ
 14                      Newport Beach, California
 15                    Wednesday, February 20, 2019
 16
 17
 18     REPORTED BY:      Michelle Milan Fulmer
                          CSR No. 6942, RPR, CRR, CRC
 19
 20
 21
 22
 23
 24
 25

                                                                   Page 1

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   1        Q      Did you ask him if he liked it there?

   2        A      Yeah.

   3        Q      And what was the job you applied for?

   4        A      A cashier.

   5        Q      When you applied, did you do that online or      10:44:50

   6    was it in the store?

   7        A      Online.

   8        Q      Online.

   9               You go through the 7-Eleven website or

  10    something like that?                                        10:45:02

  11        A      Yes.

  12        Q      Do you remember what paperwork -- I guess

  13    it's not really paperwork, but online what

  14    information you filled out?

  15        A      The application.                                 10:45:21

  16        Q      Anything else?

  17        A      There was a bunch of paperwork that I had

  18    to sign.

  19        Q      Do you remember what any of it was?

  20        A      No.                                              10:45:45

  21        Q      Was that when you had to sign the -- or

  22    when you saw the disclosure about the FCRA, the

  23    Fair Credit Reporting Act stuff?

  24        A      Yes.

  25        Q      And there are a whole bunch of other             10:46:00

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   1    all okay?

   2        A     Yes.

   3        Q     Okay.   How did the interview with Mike end?

   4    What were -- what were the results?

   5        A     He told me that he would call me back in a       11:06:42

   6    couple days to see if I had the job.

   7        Q     Okay.   Do you know what he needed to do,

   8    why he didn't just offer it to you right then?

   9        A     He said he needed to do the background

  10    check.                                                     11:06:56

  11        Q     Okay.   What did you say to that?

  12        A     I said, "Okay."

  13        Q     Did you ask any questions about it, what it

  14    would entail?

  15        A     No.                                              11:07:12

  16        Q     And so he said, "I'll need to run the

  17    background check, but I'll call you back in a few

  18    days"?

  19        A     Yes.

  20        Q     Okay.   What --                                  11:07:21

  21              When did he call you back?

  22        A     Probably like maybe three days after that.

  23        Q     And what did he say?

  24        A     He said that I had got the job.      My

  25    background pass checked.     My background check           11:07:37

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   1    passed.

   2          Q   He told you straight up on the phone you

   3    passed the background check?

   4          A   Yes.    That's why they hired me.

   5          Q   Were you surprised that you passed the           11:07:52

   6    background check?

   7          A   I wasn't surprised.

   8          Q   Did you say anything about the fact you had

   9    a criminal history, just a misdemeanor?

  10          A   No.                                              11:08:19

  11          Q   Didn't bring it up?

  12          A   No.

  13          Q   No reason to; right?

  14          A   No reason to.

  15          Q   But you were okay with him running the           11:08:24

  16    background search?

  17          A   Yeah.

  18          Q   You understood when he said, "I've got to

  19    run the background search," that it could result in

  20    you not getting the job; right?                            11:08:39

  21          A   Yes.

  22          Q   But you were still okay with him running

  23    it?

  24          A   Yes.

  25          Q   Okay.   Okay.   Let's look at --                 11:08:45

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   1        A     Yes.

   2        Q     Was it --

   3              Did you review it on a computer or it goes

   4    to your phone and you --

   5        A     To my phone.                                     01:36:25

   6        Q     And then you just review on your phone?

   7        A     Yes.

   8        Q     Okay.   Did you know it was going to be

   9    something that would be filed with the court?

  10        A     No.                                              01:36:35

  11        Q     Be that as it may, did you make sure that

  12    it was 100 percent accurate?

  13        A     Yes.

  14        Q     And, I mean, there's no reason to say

  15    something false in there; right?                           01:36:49

  16        A     Yeah.

  17        Q     You're not going to do that; right?

  18        A     No.

  19        Q     Okay.   And you signed at the bottom right?

  20        A     Yes.                                             01:37:02

  21        Q     Let's look at it and just I want to clarify

  22    a few things then.

  23              Paragraph 2 is kinda where we'll start.

  24    The first paragraph is just kind of introductory.

  25              Paragraph 2, "In or around January 2018, I       01:37:14

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   1    applied for a position with 7-Eleven, Inc."

   2              "I" is you; right?

   3        A     Yes.

   4        Q     So this is like you're saying these words.

   5    You understand that?                                       01:37:24

   6        A     Yes.

   7        Q     Okay.   That's all true?     January 2018 you

   8    applied; right?

   9        A     Yes.

  10        Q     And we looked.    It was January 16; right?      01:37:32

  11        A     Yes.

  12        Q     All right.    Paragraph 3, "In connection

  13    with my employment application, I was required to

  14    complete the document entitled Disclosure Regarding

  15    Background Investigation."                                 01:37:48

  16              That's what it says; right?

  17        A     Yes.

  18        Q     But that's not accurate; right?       You

  19    weren't required to complete it during your

  20    application; right?     It was --                          01:38:01

  21        A     Yes.

  22        Q     Okay.   Explain to me what you mean.

  23        A     No.    I had to -- I had to do that with the

  24    application in order to get the job.

  25        Q     Okay.   Maybe we're just missing each other      01:38:19

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   1    application process."

   2              That's still true, in your opinion?

   3        A     Yes.

   4        Q     And, again, the nature of the information

   5    is the talking to witnesses; right?                        01:47:07

   6        A     Yes.

   7        Q     Okay.   You then say, Paragraph 6, "Starting

   8    on January 26, 2018, I began my employment with

   9    7-Eleven."

  10              It was actually January 30th; right?             01:47:24

  11        A     Yes.

  12        Q     Okay.   And then, "Approximately one month

  13    later, on or around February 21st, 7-Eleven informed

  14    me that I was terminated based upon information

  15    contained in my background check."                         01:47:37

  16              That's still true; right?

  17        A     Yes.

  18        Q     That's accurate.    Okay.

  19              "In short, had I understood the information

  20    that would be provided to 7-Eleven, I would not have       01:47:48

  21    signed the disclosure."

  22              Again, the information is not the -- not

  23    the misdemeanor, but additional information beyond

  24    that; right?

  25        A     Yes.                                             01:48:00

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   1        Q     Do you understand that you were terminated

   2    because of what they found in your criminal record

   3    search; right?

   4        A     Yes.

   5        Q     And so a basic criminal record search would      02:21:03

   6    have found that misdemeanor; correct?

   7        A     Yes.

   8        Q     So your understanding of a background

   9    search, that was okay for them to find; correct?

  10        A     Yes.                                             02:21:16

  11        Q     And what they found is what led to your

  12    termination; right?

  13        A     Yes.

  14        Q     And you have no knowledge whether or not

  15    they called your schools or they looked into your          02:21:24

  16    characteristics or your mode of living; correct?

  17        A     Yes.

  18        Q     Do you think it's fair that you didn't read

  19    this form, so you didn't understand it, and then you

  20    turn around and sue 7-Eleven for not reading the           02:21:43

  21    form?

  22              MR. PELUSO:    Objection as to the form.

  23              THE WITNESS:    What was that again?

  24    BY MR. CHRISTENSEN:

  25        Q     Do you think it's fair to 7-Eleven, that         02:21:54

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